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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES J. SIMMONS and      )
KEISHA S. SIMMONS         )
                          )
         Plaintiffs,      )
                          )
     v.                   )                  No.
                          )
FAY SERVICING, LLC,       )
KML LAW GROUP, P.C., and  )
WILMINGTON SAVINGS FUND )
SOCIETY, FSB, NOT IN ITS  )
INDIVIDUAL CAPACITY, BUT  )
SOLELY AS TRUSTEE OF NYMT )
LOAN TRUST I,             )
                          )
         Defendants.      )

                                COMPLAINT

      AND NOW come Plaintiffs, James J. Simmons and Keisha S.

Simmons, by and through their attorneys, and hereby set forth the following

allegations in support of their Complaint:

                        JURISDICTION and VENUE

1. Jurisdiction of this Court arises under 28 U.S.C. §1331 and pursuant to

   15 U.S.C. §1692k(d), and pursuant to 28 U.S.C. §1367 for pendent state

   law claims.

2. This action arises out of Defendants’ violations of a number of federal

   consumer protection laws including, but not limited to, the Truth in
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   Lending Act, 15 U.S.C. §1640(a) (“TILA”), and the Fair Debt Collection

   Practices Act, 15 U.S.C. §1692 et. seq. (“FDCPA”).

3. Venue is proper in this District because the acts and transactions occurred

   here, Plaintiffs reside here, and Defendants transact business here.

                                 PARTIES

4. Plaintiff James J. Simmons is a natural person who resides in the

   Township of Middle Smithfield, County of Monroe, state of Pennsylvania.

5. Plaintiff Keisha S. Simmons is a natural person who resides in the

   Township of Middle Smithfield, County of Monroe, state of Pennsylvania.

6. Plaintiffs James J. Simmons and Keisha S. Simmons are married.

7. Plaintiffs were borrowers of a home loan covered by 15 U.S.C. §1639g

   and have standing to bring this claim under 15 U.S.C. §1640.

8. Plaintiffs are consumers as that term is defined by 15 U.S.C. §1692a(3),

   and/or a person affected by a violation of the FDCPA with standing to

   bring this claim under 15 U.S.C. §§1692k(a).

9. Wilmington Savings Fund Society (“WSFS”) is a Delaware Corporation

   with a principal place of business of 425 S. Financial Place, Suite 2000,

   Chicago, IL 60605.

10.   WSFS     serves    as   trustee   for   NYMT    Loan    Trust    I,   the

   mortgagee/creditor for Plaintiffs’ home loan.
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11.   As trustee, WSFS is the proper Defendant for violations of NYMT Loan

  Trust I as a mortgagee/creditor.

12.   Defendant Fay Servicing, LLC is a Delaware Limited Liability Company

  with a principal place of business of 440 S. La Salle St., Ste. 2000,

  Chicago, IL 60605.

13.   Defendant Fay Servicing, LLC is a “debt collector” as that term is

  defined by 15 U.S.C. §1692a(6).

14.   Defendant KML Law Group, P.C. is a Pennsylvania Corporation with a

  principal place of business of 701 Market Street, Suite 5000, Philadelphia

  PA 19106.

15.   Defendant KML Law Group, P.C. is a “debt collector” as that term is

  defined by 15 U.S.C. §1692a(6).

                         FACTUAL ALLEGATIONS

16.   On or about April 28, 2006, Plaintiffs signed a promissory note with

  Bank of America, N.A. along with an accompanying mortgage (the

  “Mortgage”) for the purchase of property known at the time as 33 Fairway

  Drive, Marshalls Creek, PA 18335.

17.   The property formally known as 33 Fairway Drive, Marshalls Creek PA

  18335 is now known as 389 Rolling Hills Drive, East Stroudsburg, PA

  18302 as a result of emergency service readdressing.
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18.   In April 2017, Plaintiffs defaulted on this Mortgage.

19.   On August 1, 2019, Bank of America, N.A. assigned the Mortgage to

  NYMT Loan Trust I.

20.   WSFS serves as the trustee for the mortgagee, NYMT Loan Trust I.

21.   WSFS entered into a mortgage servicing agreement with Fay

  Servicing, LLC.

22.   The Mortgage was in default at the time Fay Servicing, LLC began

  servicing the mortgage.

23.   Thus, Fay Servicing, LLC is a “debt collector” as that term is defined

  by 15 U.S.C. §1692a(6).

24.   At all relevant times, Fay Servicing, LLC was an agent of WSFS.

25.   In an effort to resolve the defaulted Mortgage, Plaintiffs decided to

  refinance the loan with NE PA Federal Credit Union.

26.   Plaintiffs engaged Gateway Abstract, Inc. to perform the title work and

  settlement relative to this refinance.

27.   On June 7, 2021, Gateway Abstract, Inc. and/or its agents requested

  a payoff statement for the Mortgage from Fay Servicing, LLC.

28.   On June 15, 2021, Fay Servicing, LLC faxed a payoff statement to

  Gateway Abstract, Inc., which provided a payoff balance of $115,278.79

  which figure was good through June 30, 2021.
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29.   On June 30, 2021, Plaintiffs closed on the refinance.

30.   Consistent with the payoff statement, on June 30, 2021, Gateway

  Abstract, Inc. wired the payoff balance of $115,278.79 to Fay Servicing,

  LLC.

31.   On or about July 2, 2021, an agent of Fay Servicing, LLC contacted

  Marykathryn “Kate” Best (“Kate”) of ARM Lawyers regarding the wire.

32.   The Fay Servicing agent indicated that the wire was insufficient to

  cover the payoff balance and that if it was not corrected, the wire would

  be rejected.

33.   Kate informed the agent that ARM Lawyers did not handle the

  settlement and that any issues should be directed to Gateway Abstract,

  Inc.; however, Kate specifically requested something in writing regarding

  the issue.

34.   The Fay Servicing agent informed Kate that a letter would be faxed to

  ARM Lawyers that day.

35.   No fax was ever received from the agent or Fay Servicing, LLC

  regarding this issue.

36.   Upon receipt of this phone call, Kate contacted Cherise Decker

  (“Decker”) of Gateway Abstract, Inc. to inform her of the potential issue.

37.   Decker reviewed the payoff statement and wire.
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38.   As a result of this review, Decker concluded she did, in fact, wire the

  exact amount listed on the payoff statement.

39.   On or about July 30, 2021, Decker received notification that the wire

  had been rejected.

40.   On or about July 30, 2021, Attorney Patrick J. Best (“Attorney Best”)

  sent a letter to Fay Servicing, LLC enclosing a check for the payoff amount

  of $115,278.79 and explaining the ongoing issues Plaintiffs were having

  with the payoff statement.

41.   On or about August 3, 2021, an agent of Fay Servicing, LLC contacted

  ARM Lawyers to discuss the July 30, 2021, letter from Attorney Best.

42.   Kate returned the phone call to discuss the situation.

43.   Kate explained the situation as stated hereinabove including the fact

  that Gateway Abstract, Inc. wired the funds requested in the June 15,

  2021, payoff letter.

44.   The agent stated that while Fay Servicing, LLC received the check, it

  was not sufficient to satisfy the loan because the payoff statement was

  only good until June 30, 2021, and Fay Servicing, LLC did not receive the

  check until August 3, 2021.

45.   Kate informed the agent that Plaintiffs closed on the refinance on June

  30, 2021, and sent the payoff at that time via wire transfer.
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46.   The agent told Kate that the check was the first time that Fay Servicing,

  LLC had received any funds.

47.   Kate informed the agent that the agent was incorrect and recapped the

  facts as described hereinabove.

48.   The agent told Kate that he would look into the situation and that he

  “didn’t want to fight [Plaintiffs] on this but would if [he] had to.”

49.   On or about August 4, 2021, Fay Servicing, LLC, by and through its

  attorney, Stephanie A. Walczak of KML Law Group, P.C., filed a

  Complaint in Foreclosure in the Monroe County Court of Common Pleas.

50.   In this Complaint, Fay Servicing, LLC and KML Law Group, P.C. assert

  a “Recoverable Balance” of $115,195.50.

51.   This amount was less than the payoff balance requested in Fay

  Servicing LLC’s correspondence of June 15, 2021.

52.   The Mortgage Foreclosure Complaint failed to acknowledge the wire

  transfer sent on June 30, 2021, or the check sent on July 30, 2021.

53.   Fay Servicing, LLC, acknowledged the receipt of the check prior to the

  filing of the Complaint.

54.   Priscilla Serrato of Fay Servicing, LLC verified the Complaint on July

  22, 2021.
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55.   Fay Servicing, LLC and KML Law Group, P.C. filed this Complaint on

  August 4, 2021, using a verification which was approximately two weeks

  old.

56.   The facts pled in the Complaint were false as Plaintiffs paid the balance

  due on June 30, 2021.

57.   However, setting aside the funds wired on June 30, 2021, the facts of

  the Complaint were false in that Fay Servicing, LLC received the check at

  some time on or before August 3, 2021.

58.   At the time Fay Servicing, LLC and KML Law Group, P.C. filed this

  Complaint, both parties knew or had reason to know that the allegations

  contained therein were false.

59.   Thereafter, Fay Servicing, LLC and KML Law Group, P.C. served this

  Complaint on Plaintiffs through the Monroe County Sheriff’s Office.

60.   Thus, Plaintiffs endured the emotional distress of being served a

  Complaint in Foreclosure by a uniformed sheriff over one month after

  closing on their refinance and after paying the Mortgage in full on two (2)

  separate occasions.

61.   On August 6, 2021, Caitlin M. Donnelly, Esq., Managing Attorney for

  Foreclosure and Evictions of Defendant KML Law Group, P.C.

  (“Donnelly”) called Attorney Best to discuss the matter.
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62.   Attorney Best informed Donnelly of the facts set forth hereinabove.

63.   Donnelly indicated that she would look into the matter.

64.   On August 7, 2021, another agent from Fay Servicing, LLC called ARM

  Lawyers and spoke with Kate.

65.   This agent informed Kate that after reviewing the matter, Fay

  Servicing, LLC had elected to satisfy the Mortgage.

66.   Neither Fay Servicing, LLC nor KML Law Group, P.C. withdrew the

  Complaint until August 20, 2021.

67.   The Satisfaction of Mortgage was completed on September 16, 2021;

  and recorded on September 22, 2021, by the Recorder of Deeds.

68.   Plaintiffs received numerous phone calls from NE PA Federal Credit

  Union regarding the unsatisfied mortgage.

69.   The foregoing acts and omissions of Defendants and their agents

  constitute numerous and multiple violations of TILA, FDCPA and other

  consumer protection statutes.

70.   As a result of Defendants’ violations of these consumer protection

  statutes, Plaintiffs have suffered actual damages in the form of anger,

  anxiety,   emotional   distress,   fear,   frustration,   upset,   humiliation,

  embarrassment, amongst other negative emotions, as well as suffering

  from unjustified and abusive invasions of personal privacy.
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                                COUNT I
              VIOLATIONS OF THE TRUTH IN LENDING ACT
                            15 U.S.C. §1639g
      (vs. Wilmington Savings Fund Society and Fay Servicing, LLC)

71.    Plaintiffs hereby incorporate paragraphs 1 through 70 above as if the

  same were set forth more fully at length herein.

72.    Pursuant to 15 U.S.C. §1639g, a creditor or servicer of a home loan

  shall send an accurate payoff balance within a reasonable time, but in no

  case more than 7 business days, after the receipt of a written request for

  such balance from or on behalf of the borrower.

73.    Plaintiffs’ Mortgage was a “home loan” as contemplated by 15 U.S.C.

  §1639g.

74.    WSFS is the trustee for NYMT Loan Trust I, the mortgagee of this

  home loan and “creditor” for the loan as defined by 15 U.S.C. §1602(f).

75.    Fay Servicing, LLC is the servicer of this home loan.

76.    Both WSFS and Fay Servicing, LLC were obligated to provide an

  accurate payoff balance within 7 business days after receipt of the request

  for payoff from Gateway Abstract, Inc.

77.    WSFS and Fay Servicing, LLC violated 15 U.S.C. §1639g in that the

  payoff statement provided on June 15, 2021, was allegedly inaccurate.
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78.    WSFS and Fay Servicing, LLC violated 15 U.S.C. §1639g in that

  according to WSFS and Fay Servicing, LLC, no accurate payoff statement

  was ever provided – let alone provided within 7 business days.

79.    15 U.S.C. §1640 provides for civil liability for violations of 15 U.S.C.

  §1639g.

80.    The failure to provide an accurate payoff statement has caused

  significant damage to Plaintiffs in the form of anger, anxiety, emotional

  distress, fear, frustration, upset, humiliation, embarrassment, amongst

  other negative emotions.

       WHEREFORE, Plaintiffs pray that judgment be entered against

Defendant WSFS and Defendant Fay Servicing, LLC:

  • for an award of actual damages pursuant to 15 U.S.C. § 1640(a)(1);

  • for an award of statutory damages of $4,000.00 pursuant to 15 U.S.C.

       § 1640(a)(2)(A)(i);

  • for such other and further relief as may be just and proper.

                                 COUNT II
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §1692 et seq.
            (vs. Fay Servicing, LLC and KML Law Group, P.C.)

81.    Plaintiffs hereby incorporate paragraphs 1 through 80 above as if the

  same were set forth more fully at length herein.

82.    15 U.S.C. §1692d prohibits a debt collector from engaging “in any
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  conduct the natural consequence of which is to harass, oppress, or abuse

  any person in connection with the collection of a debt.”

83.   Defendants’ conduct violated Section 1692d in several ways:

      a. by refusing to accept Plaintiffs’ payoff of the Mortgage;

      b. by proceeding with foreclosure proceedings despite Plaintiffs’

          payment of the loan on two (2) separate occasions;

      c. by demanding $115,195.50 be paid despite having received a wire

          transfer and check for $115,278.79 prior to filing the Mortgage

          Foreclosure Complaint; and,

      d. by refusing to satisfy the Mortgage until September 16, 2021.

84.   15 U.S.C. §1692e(2) prohibits making false representations about a

  debt.

85.   Defendants violated Section 1692e(2) in a number of ways:

      a. by representing that they were entitled to $115,195.50 despite

          having received a wire transfer and check for $115,278.79 prior to

          filing the Mortgage Foreclosure Complaint;

      b. by stating that Fay Servicing, LLC never received a payoff when Fay

          Servicing, LLC rejected the payoff.

86.   15 U.S.C. §1692e(8) prohibits communicating false information about

  a debt.
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87.   Defendants violated Section 1692e(8) by repeatedly communicating

  to Plaintiffs they owed a debt to Defendants even though Plaintiffs paid

  the debt in full on two (2) separate occasions.

88.   15 U.S.C. §1692e(10) prohibits the “use of any false representation or

  deceptive means to collect or attempt to collect any debt.”

89.   Defendant violated Section 1692e(10) by making false and deceptive

  communications demanding payment for the debt in order to deceive

  Plaintiffs into paying a debt which had already been paid.

90.   15 U.S.C. §§1692f and 1692f(1) prohibit unfair and unconscionable

  practices by a debt collector to collect a debt, including “the collection of

  any amount... unless such amount is expressly authorized by the

  agreement creating the debt or permitted by law.”

91.   Defendants violated Sections 1692f and 1692f(1) in several ways:

      a. by providing Plaintiff a payoff statement only to reject the payoff;

      b. by asking for additional monies after Plaintiffs paid the payoff

         amount;

      c. by refusing to satisfy the Mortgage until September 16, 2021, after

         payment;

      d. by rejecting the payoff only to pursue foreclosure proceedings;

      e. by initiating foreclosure proceedings after receiving payment on two
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        (2) separate occasions;

      f. by serving the Mortgage Foreclosure Complaint through the sheriff’s

        office after receiving payment on two (2) separate occasions.

92.   The foregoing acts and omissions of Defendants and their agents

  constitute numerous and multiple violations of the FDCPA including, but

  not limited to, each and every one of the above-cited provisions of the

  FDCPA, 15 U.S.C. §1692 et seq., with respect to Plaintiffs.

93.   As a result of Defendants’ violations of the FDCPA, Plaintiffs have

  suffered actual damages as a result of these illegal collection

  communications by Defendants in the form of anger, anxiety, emotional

  distress, fear, frustration, upset, humiliation, embarrassment, amongst

  other negative emotions, as well as suffering from unjustified and abusive

  invasions of personal privacy.

94.   As a result of each and every Defendants’ violations of the FDCPA,

  Plaintiffs are entitled to actual damages pursuant to 15 U.S.C.

  §1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant

  to 15 U.S.C. §1692k(a)(2)(A); and reasonable attorney’s fees and costs

  pursuant to 15 U.S.C. §1692k(a)(3), from Defendants Fay Servicing, LLC

  and KML Law Group, P.C.

      WHEREFORE, Plaintiffs pray that judgment be entered against
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Defendant Fay Servicing, LLC and KML Law Group P.C.:

  • for an award of actual damages pursuant to 15 U.S.C. §1692k(a)(1);

  • for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

       §1692k(a)(2)(A);

  • for an award of costs of litigation and reasonable attorney’s fees

       pursuant to 15 U.S.C. §1692k(a)(3); and

  • for such other and further relief as may be just and proper.

                               COUNT III
                        BREACH OF CONTRACT
      (vs. Wilmington Savings Fund Society and Fay Servicing, LLC)

95.    Plaintiffs hereby incorporate paragraphs 1 through 94 above as if the

  same were set forth more fully at length herein.

96.    Plaintiffs’ Mortgage is a contract with WSFS.

97.    Fay Servicing, LLC acted as an agent of WSFS for the purposes of

  servicing the Mortgage.

98.    Plaintiffs’ Mortgage has a covenant of good faith and fair dealing.

99.    Defendants’ unfair, unreasonable, unconscionable, and deceptive

  conduct violates the covenant of good faith and fair dealing.

100. Additionally, the Mortgage provides that Defendants will satisfy the

  Mortgage upon payment.

101. The Mortgage was not satisfied until September 16, 2021.
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102. Thus, Defendants have breached their contract with Plaintiffs.

103. Plaintiffs are entitled to damages for this breach.

      WHEREFORE, Plaintiffs pray that judgment be entered against

Defendants WSFS and Fay Servicing, LLC for resultant damages.

                                  COUNT IV
                             SLANDER OF TITLE
                             (vs. All Defendants)

104. Plaintiffs hereby incorporate paragraphs 1 through 103 above as if the

   same were set forth more fully at length herein.

105. Despite the Mortgage being paid in full, Defendants, did not satisfy the

   Mortgage until September 16, 2021.

106. Plaintiffs’ title was clouded as a result of the untimely satisfaction of the

   Mortgage.

107. Plaintiffs continue to receive phone calls from their current mortgagee,

   NE PA Federal Credit Union due to status of the Mortgage.

108. The Complaint in Foreclosure filed by Defendants is a public record.

109. The filing of this Mortgage Foreclosure Complaint when the Mortgage

   was paid in full may lead the public to believe that Plaintiffs were in active

   Foreclosure proceedings.

110. As a result of Defendants’ slander of title, Plaintiff has suffered actual

   damages in the form of anger, anxiety, emotional distress, fear,
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  frustration, upset, humiliation, embarrassment, amongst other negative

  emotions, as well as suffering from unjustified and abusive invasions of

  personal privacy.

     WHEREFORE, Plaintiffs pray that judgment be entered against all

Defendants for resultant damages.

                              COUNT V
              WRONGFUL USE OF CIVIL PROCEEDINGS
               42 Pa.C.S. § 8351 (DRAGONETTI ACT)
                        (vs. All Defendants)

111. Plaintiffs hereby incorporate paragraphs 1 through 110 above as if the

  same were set forth more fully at length herein.

112. 42 Pa.C.S. §8351 (the “Dragonetti Act”) provides that a person who

  takes part in the procurement, initiation or continuation of civil

  proceedings against another is subject to liability to the other for wrongful

  use of civil proceedings where:

     a. The Defendant acts in a grossly negligent manner or without

        probable cause and primarily for a purpose other than that of

        securing the proper discovery, joinder of parties or adjudication of

        the claim in which the proceedings are based; and

     b. The proceedings have terminated in favor of the person against

        whom they are brought.

113. Fay Servicing, LLC directed KML Law Group, P.C. to file a Complaint
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   in Foreclosure despite having been paid in full on two (2) separate

   occasions for the underlying Mortgage.

114. Fay Servicing, LLC acted as agent of WSFS.

115. WSFS is liable through Respondeat Superior.

116. Fay Servicing, LLC was aware that it was paid in full prior to filing the

   Mortgage Foreclosure Complaint.

117. KML Law Group, P.C. unreasonably filed a Mortgage Foreclosure

   Complaint on August 4, 2021, based upon a verification signed July 22,

   2021.

118. KML Law Group, P.C. unreasonably failed to determine whether the

   attendant facts in the Mortgage Foreclosure Complaint were still accurate

   at the time the Mortgage Foreclosure Complaint was filed.

119. Thus, Defendants acted in a grossly negligent manner.

120. As the Mortgage had already been paid by the time the Mortgage

   Foreclosure Complaint was filed, the Mortgage Foreclosure Complaint

   could not have been filed for proper adjudication of the claim.

121. The proceedings terminated in favor of Plaintiffs as Defendants

   withdrew the Mortgage Foreclosure Complaint.

      WHEREFORE, Plaintiffs pray that judgment be entered against all

Defendants:
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 a. for the harm to their reputation; 42 Pa.C.S. §8353(2);

 b. for the expense, including any reasonable attorney fees, that they

    have reasonably incurred in defending themselves against the

    proceedings; 42 Pa.C.S. §8353(3);

 c. for the emotional distress caused by the proceedings; 42 Pa.C.S.

    §8353(5); and,

 d. Punitive damages according to law in appropriate cases; 42 Pa.C.S.

    §8353(6).

                    DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury on all issues triable by right.



                                       Respectfully submitted,

                                       /s/ Joshua B. Goldberg, Esquire
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